                        Case 4:16-cr-00061-KGB                 Document 45              Filed 10/03/16          Page 1 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                     Sheet 1

                                                                                                                          OCT 0 3 2016
                                           UNITED STATES DISTRICT COURJAMEsw
                                                           Eastern District of Arkansas                     By:                          CK, CLERK
                                                                          )                                                                DLPCLERK
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                    BRENDA MONTGOMERY                                     )
                                                                          )       Case Number: 4:16-cr-00061-01 KGB
                                                                          )       USM Number: 30833-009
                                                                          )
                                                                          )        WILLIAM 0. "BILL" JAMES, JR.
                                                                          )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         1
                                    ---------------------------------~

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 18 u.s.c. §§ 1344(2)              Conspiracy to Commit Bank Fraud, a Class B Felony                         4/30/2015

 and 1349



       The defendant is sentenced as provided in pages 2 through          __6___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
OCount(s)                                               D is      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.
                                                                          9/29/2016
                                                                         Date oflmposition of Judgment




                                                                          Kristine G. Baker, United States District Judge
                                                                         Name and Title of Judge



                                                                         Date
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AO 2458 (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                    Judgment- Page   _2=--- of   6
 DEFENDANT: BRENDA MONTGOMERY
 CASE NUMBER: 4:16-cr-00061-01 KGB

                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  57 months




     Ill The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends the defendant participate in mental health counseling, and educational and vocational programs
  during incarceration. The Court further recommends the defendant be incarcerated in the Aliceville FCI or the Bryan FPC
  facility.

     0 The defendant is remanded to the custody of the United States Marshal.

     0 The defendant shall surrender to the United States Marshal for this district:
          D at                                    D a.m.       D p.m.       on
                    ---------
          D    as notified by the United States Marshal.

     Ill The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          Ill before 2 p.m. on         11 /14/2016
                                     -----------
          0 as notified by the United States Marshal.
          0    as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                       to
 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL



                                                                           By --------------------~
                                                                                   DEPUTY UNITED STATES MARSHAL
                          Case 4:16-cr-00061-KGB                 Document 45            Filed 10/03/16           Page 3 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                            Judgment-Page   _..o..3_ of         6
 DEFENDANT: BRENDA MONTGOMERY
 CASE NUMBER: 4:16-cr-00061-01 KGB
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 years

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment anCI at least two periodic drug tests
 thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

 D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as direc~ed by the probation offi~er, the Burea1;1 of Prisons, or any state sex offender registration agency in which he or she resides,
          works, 1s a student, or was conVIcted of a quahfymg offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
         If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probalion officer;
  10)      the defendant shall P.ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observeCI in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or P-ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet JC - Supervised Release
                                                                                            Judgment-Page   --'-4- of -~6__
DEFENDANT: BRENDA MONTGOMERY
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                                          SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate in a mental health program under the guidance and supervision of the probation office.
 The defendant shall pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per
 month, based on the ability to pay as determined by the probation office. In the event the defendant is financially unable to
 pay for the cost of treatment, the co-pay requirement will be waived.

 Pursuant to 12 U.S.C. §§ 1785 and 1829, the defendant shall not obtain employment in an institution insured by the FDIC
 or a Federal Credit Union.

 The defendant shall not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 The defendant shall disclose business and personal information including all assets (including unexpected financial gains)
 and liabilities to the probation office.

 The defendant shall not transfer, sell, give away, or otherwise convey any asset without approval of the probation office.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page   _...::;5_ of          6
 DEFENDANT: BRENDA MONTGOMERY
 CASE NUMBER: 4:16-cr-00061-01 KGB
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                       Fine                                Restitution
 TOTALS              $   100.00                                       $    0.00                           $    1,317,000.00


 D      The determination of restitution is deferred until
                                                           - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

 (ll The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is patd.

   Name of Payee                                                            Total Loss*          Restitution Ordered Priority or Percentage
       First National Bank of Lawrence County                                $3,953,025.00            $1,317,000.00
       206 West Main Street

       Walnut Ridge, Arkansas 72476




TOTALS                                $              3,953,025.00            $               1,317,000.00
                                          ~--------                              ~--------




 Ill     Restitution amount ordered pursuant to plea agreement $          1,317,000.00

 D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Ill     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         Ill the interest requirement is waived for the      D fine       Ill restitution.
         D the interest requirement for the         D fine    D restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and l 13A of Title 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
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        Sheet 6 - Schedule of Payments
                                                                                                                Judgment - Page             of
 DEFENDANT: BRENDA MONTGOMERY
 CASE NUMBER: 4:16-cr-00061-01 KGB

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
 A     '2)    Lump sum payment of$ -100.00
                                     - - - - - - due immediately, balance due

              D    not later than - - - - - - - - - - , or
              ~    in accordance     D C, D D, D E, or                           !;ti F below; or
 B     D Payment to begin immediately (may be combined with                   D C,        D D, or       D F below); or
 C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or
 E     D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F     '2')   Special instructions regarding the payment of criminal monetary penalties:
              During incarceration, the defendant shall pay 50 percent of all funds that are available to her. During residential
              re-entry placement, payments will be 10 percent per month of the defendant's gross monthly income. Beginning
              the first month of supervised release, payments shall be 10 percent per month of defendant's gross monthly
              income. Interest is waived.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!!U:Y penalties is due during
 imprisonment. All cnrninal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 Ill   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
         Restitution shall be joint and several with any other person who has been or will be convicted of an offense for which
         restitution to the same victim on the same loss is ordered.


 D     The defendant shall pay the cost of prosecution.

 D The defendant shall pay the following court cost(s):
 D The defendant shall forfeit the defendant's interest in the following property to the United States:



 Pa}'!!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (SJ fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
